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           IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF GEORGIA
                    WAYCROSS DIVISION
                             )
UNITED STATES OF AMERICA     )
                             )
             v.              )      CASE NO 5:21-CR-09-17
                             )
ROSALVA GARCIA MARTINEZ      )
                             )

             GOVERNMENT’S NOTICE OF PLEA AGREEMENT

       NOW COMES the United States of America, by and through Jill E. Steinberg,

United States Attorney for the Southern District of Georgia, and pursuant to 18

U.S.C. § 3161(h)(1)(G), notifies the Court that a plea agreement has been reached by

the parties which would dispose of the charges pending in the above-captioned case

against the defendant. A copy of the plea agreement has been provided to the Court

for its consideration. The government respectfully requests that the Court schedule

a Rule 11 proceeding and accept the defendant=s plea as set forth in the proposed

agreement.

                                      Respectfully submitted,

                                      JILL E. STEINBERG
                                      UNITED STATES ATTORNEY

                                      /s/ Tania D. Groover

                                      Assistant United States Attorney
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